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FILED
JOHN P HERMAN

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO —-.20|4 JUL-8 PM 4 4&

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Information associated with cellular telephone | Case No. ee ihn GOURT
number (937) 416-7953 as listed in Attachment SOUTRE AN DST OFIO

A of the Warrant. Filed Under Seat MICHAEFE'S NEWMAN

 

 

APPLICATION FOR ORDER COMMANDING CELLCO PARTNERSHIP DBA
VERIZON WIRELESS NOT TO NOTIFY ANY PERSON OF THE EXISTENCE OF
WARRANT

The United States requests that the Court order CELLCO PARTNERSHIP DBA
VERIZON Wireless not to notify any person (including the subscribers or customers of the
account(s) listed in the warrant of the existence of the attached warrant until further order of the
Court.

CELLCO PARTNERSHIP DBA VERIZON Wireless is a provider of an electronic
communication service, as defined in 18 U.S.C. § 2510(15), and/or a remote computer service, as
defined in 18 U.S.C. § 2711(2). Pursuant to 18 U.S.C. § 2703, the United States obtained the
attached warrant, which requires CELLCO PARTNERSHIP DBA VERIZON Wireless to
disclose certain records and information to the United States. This Court has authority under 18
U.S.C. § 2705(b) to issue “an order commanding a provider of electronic communications
service or remote computing service to whom a warrant, subpoena, or court order is directed, for
such period as the court deems appropriate, not to notify any other person of the existence of the
warrant, subpoena, or court order,” Jd.

In this case, such an order would be appropriate because the attached warrant relates to an
ongoing criminal investigation that is neither public nor known to all of the targets of the
investigation, and its disclosure may alert the targets to the ongoing investigation. Accordingly,

there is reason to believe that notification of the existence of the attached warrant will seriously

jeopardize the investigation, including by giving targets an opportunity to flee or continue flight
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from prosecution, destroy or tamper with evidence, change patterns of behavior, or notify
confederates. See 18 U.S.C. § 2705(b)(2), (3), (5).

WHEREFORE, the United States respectfully requests that the Court grant the attached
Order directing CELLCO PARTNERSHIP DBA VERIZON Wireless not to disclose the
existence or content of the attached warrant, except that CELLCO PARTNERSHIP DBA
VERIZON Wireless may disclose the attached warrant to an attorney for CELLCO
PARTNERSHIP DBA VERIZON Wireless for the purpose of receiving legal advice.

The United States further requests that the Court order this application and any resulting
order be sealed until further order of the Court. As explained above, these documents discuss an
ongoing criminal investigation that is neither public nor known to all of the targets of the
investigation. Accordingly, there is good cause to seal these documents because their premature

disclosure may seriously jeopardize that investigation.

Respectfully submitted,

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